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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

THADDEUS D. SMITH, Sr.,              :
                                     :
       Plaintiff,                    :
                                     :
vs.                                  :   CIVIL ACTION NO. 15-00625-WS-B
                                     :
THE STATE OF ALABAMA BOARD OF        :
PARDONS AND PAROLES,                 :
                                     :
       Defendant.                    :

                        REPORT AND RECOMMENDATION


       Plaintiff Thaddeus D. Smith, Sr., who is proceeding pro se,

filed a complaint and two motions to proceed without prepayment

of fees.      (Docs. 1, 2, 3).      His motions were referred to the

undersigned    for    appropriate   action   pursuant   to   28    U.S.C.    §

636(b)(1)(B) and S.D. Ala. GenLR 72(a)(2)(S).                After careful

consideration of Smith’s complaint and motions, the undersigned

Magistrate    Judge    recommends   that     this   action   be    dismissed

pursuant to 28 U.S.C. § 1915(e)(2)(B) for failure to state a

claim upon which relief can be granted.

       I. Applicable Law

       Because Smith is seeking to proceed without prepayment of

fees, 28 U.S.C. § 1915(e)(2)(B) 1 requires the Court to consider


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    Section 1915(e)(2)(B) provides:


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whether his complaint is frivolous, malicious, fails to state

claim on which relief may be granted, or seeks monetary relief

against a defense who is immune from such relief.               Neitzke v.

Williams, 490 U.S. 319, 325, 109 S. Ct. 1827, 1831-32, 104 L. Ed.

2d 338 (1989);      Troville v. Venz, 303 F.3d 1256, 1260 (11th Cir.

2002)   (applying     to   non-prisoner   actions    §     1915(e),   which

requires     the   dismissal   of   actions   that   are     frivolous    or

malicious, fail to state a claim, or sue an immune party for

damages).     A claim is frivolous as a matter of law where, inter

alia, the defendants are immune from suit, Neitzke, 490 U.S. at

327, 109 S. Ct. at 1833, or the claim seeks to enforce a right

that clearly does not exist.        Id.   Moreover, a complaint may be

dismissed under 28 U.S.C. § 1915(e)(2)(B)(ii) for failure to




         (2) Notwithstanding any filing fee, or any portion
     thereof, that may have been paid, the court shall
     dismiss the case at any time if the court determines
     that –

           (A) the allegation of poverty is untrue; or

           (B) the action or appeal –

               (i) is frivolous or malicious;

              (ii) fails to state a claim on which relief
            may be granted; or

              (iii) seeks monetary relief against a defendant
            who is immune from such relief.

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state a claim upon which relief may be granted.                 Mitchell v.

Farcass, 112 F.3d 1483, 1490 (11th Cir. 1997).

       To avoid dismissal for failure to state a claim upon which

relief can be granted, the allegations must show plausibility.                 Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 557, 127 S. Ct. 1955, 1966,

167 L. Ed. 2d 929 (2007).      “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct

alleged.”     Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937,

1948, 173 L. Ed. 2d 868 (2009).          That is, “[f]actual allegations

must be enough to raise a right to relief above the speculative

level” and must be a “‘plain statement’ possess[ing] enough heft to

‘sho[w] that the pleader is entitled to relief.’”          Twombly, 550 U.S.

at 555, 557, 127 S. Ct. at 1965, 1966 (citations omitted).                 While

Rule 8(a) of the Federal Rules of Civil Procedure does not require

detailed factual allegations, “it demands more than an unadorned,

the-defendant-unlawfully-harmed-me accusation.”          Iqbal, 556 U.S. at

678.     A pleading is insufficient if it offers mere “labels and

conclusions” or “a formulaic recitation of the elements of a cause

of action.”    Twombly, 550 U.S. at 555.

       When considering a pro se litigant’s allegations, a court

gives them a liberal construction holding them to a more lenient

standard than those of an attorney.         Haines v. Kerner, 404 U.S.


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519, 520, 92 S. Ct. 594, 595-596, 30 L. Ed. 2d 652 (1972).

However, a court does not have “license . . . to rewrite an

otherwise deficient pleading [by a pro se litigant] in order to

sustain an action.”           GJR Investments v. County of Escambia, Fla.,

132 F.3d 1359, 1369 (11th Cir. 1998), overruled on other grounds

by Iqbal, 556 U.S. 662 (2009); see Randall v. Scott, 610 F.3d

701, 709 (11th Cir. 2010) (observing Iqbal’s overruling of GJR

Investments’ heightened pleading standard).                Furthermore, a pro

se litigant “is subject to the relevant law and rules of court

including    the    Federal      Rules   of   Civil   Procedure.”          Moon    v.

Newsome, 863 F.2d 835, 837 (11th Cir.), cert. denied, 493 U.S.

863 (1989).

      II. Analysis

      In this action, Smith has sued the Alabama Board of Pardons

and Paroles for violation of his civil rights pursuant to the

Fifteenth Amendment and the Voting Rights Act of 1965, 42 U.S.C.

§   1973.   (Doc.    1   at    2).    Smith   alleges     that,   following       his

release     from    prison,     he   sought   to   have    his    voting    rights

restored, and although he was advised by the local office of the

Alabama Board of Pardons and Paroles that he had satisfied all

fees and was eligible to have his voting rights restored, the

Alabama Board of Pardons and Paroles nevertheless denied his

request.     (Id.).      Smith avers that he “believes that the denial


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of [the] restoration [of his voting] rights by the State of

Alabama Pardon and Paroles” was “politically motivated.”                 (Id.).

Smith seeks two million dollars and other relief that may be

appropriate, including injunctive relief and attorney’s fees and

costs.2      (Id.).

         Taking Smith’s allegations as true, the undersigned finds

that he has failed to state a claim upon which relief may be

granted.       The Fifteenth Amendment provides that, “[t]he right of

citizens of the United States to vote shall not be denied or

abridged by the United States or by any State on account of

race, color or previous condition of servitude.”                    U.S. Const.

amend. XV § 1 (emphasis added).              Similarly, the Voting Rights

Act provides, in pertinent part, that:

         [n]o voting qualification or prerequisite to voting or
         standard, practice, or procedure shall be imposed or
         applied by any State or political subdivision in a
         manner which results in a denial or abridgment of the
         right of any citizen of the United States to vote on
         account of race or color. . . .




2
 Along with his complaint, Smith has submitted a letter that he
presumably received from the Alabama Board of Pardons and
Paroles.   It reads, in part, “In order to be eligible to have
your rights restored, you must meet certain requirements-you
must be off probation/parole and you must have paid off all of
your court fees, restitution and probation fees. . . . [I]t
appears you are not eligible to have your ‘Voting Rights’
restored.   It was discovered that you owe $792 in unpaid court
ordered fees.” (Doc. 1 at 5) (emphasis in original).

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52      U.S.C.       §   10301      (previously          codified        at     42        U.S.C.    §

1973)(emphasis added).                A careful reading of Smith’s complaint

reflects that it is devoid of any allegation that the Alabama

Board      of    Pardons     and     Parole    denied         his   request      to       have     his

voting privileges restored on account or his race or that the

decision        to    deny   his     request       was       racially    discriminatory             or

racially motivated.                 To the contrary, Smith contends that he

believes        that     the     denial       of       his    request     was        politically

motivated.           (Doc. 1 at 2).       Because Plaintiff has not set forth

claims upon which relief may be granted, this action should be

dismissed pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii). 3                                      To the

extent that Smith believes that he can state a claim that passes

muster       under       §   1915(e)(2)(B),             he     shall     file        an     amended

complaint,           along   with    timely        objections,      to    this       report        and

recommendation.

3
 Smith’s Fifteenth Amendment claim against the Alabama Board of
Pardons and Paroles is also subject to dismissal under 28 U.S.C.
§ 1915(e)(2)(B)(i) as frivolous.        To assert a Fifteenth
Amendment violation, the plaintiff must bring a cause of action
under 42 U.S.C. § 1983.    The law is well-settled that a state
agency, as an extension of the State, is “not a ‘person’ within
the meaning of § 1983” and is therefore absolutely immune from
suit. Will v. Michigan Dep’t of State Police, 491 U.S. 58, 65,
109 S. Ct. 2304, 2309, 105 L. Ed. 2d 45 (1989); see also Turner
v. Dillard, 2014 U.S. Dist. LEXIS 25285, *2 (M.D. Ala. Jan. 6,
2014)(Because state agencies are immune from suit under § 1983,
the plaintiff’s claims against the Alabama Board of Pardons and
Parole are “based on an indisputably meritless legal theory” and
are, therefore, subject to dismissal as frivolous under the
provisions of 28 U.S.C. § 1915(e)(2)(B)(i)).

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      The instructions which follow the undersigned’s signature

contain important information regarding objections to the report

and recommendation of the Magistrate Judge.

      DONE this 22nd day of April, 2016.

                                                  /s/ SONJA F. BIVINS
                                            UNITED STATES MAGISTRATE JUDGE



                     NOTICE OF RIGHT TO FILE OBJECTIONS

      A copy of this report and recommendation shall be served on

all   parties   in    the   manner   provided    by   law.       Any   party    who

objects to this recommendation or anything in it must, within

fourteen (14) days of the date of service of this document, file

specific written objections with the Clerk of this Court.                       See

28 U.S.C. § 636(b)(1); FED.R.CIV.P. 72(b); S.D. ALA. GenLR 72(c).

The parties should note that under Eleventh Circuit Rule 3-1,

“[a] party failing to object to a magistrate judge’s findings or

recommendations       contained   in   a   report     and    recommendation      in

accordance with the provisions of 28 U.S.C. § 636(b)(1) waives

the right to challenge on appeal the district court’s order

based   on   unobjected-to     factual     and   legal      conclusions    if   the

party was informed of the time period for objecting and the

consequences on appeal for failing to object.                 In the absence of

a proper objection, however, the court may review on appeal for



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plain error if necessary in the interests of justice.”            11th Cir.

R. 3-1.   In order to be specific, an objection must identify the

specific finding or recommendation to which objection is made,

state the basis for the objection, and specify the place in the

Magistrate Judge’s report and recommendation where the disputed

determination is found.       An objection that merely incorporates

by reference or refers to the briefing before the Magistrate

Judge is not specific.




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